Case 6:20-cr-00097-JCB-JDL Document 260 Filed 09/08/21 Page 1 of 2 PageID #: 743




                                      No. 6:20-cr-00097-6

                                   United States of America
                                              v.
                                        John Eric Retiz

                                             ORDER

                 Defendant John Eric Retiz (6) filed an unopposed motion to con-
             tinue the trial. Doc. 253. This motion to continue is granted. The
             new deadlines and court settings are as follows:

             •   Deadline for pretrial motions (except         Nov. 3, 2021
                 motions for continuance):
             •   Deadline to file motion for continuance       Nov. 8, 2021
                 or notify the court of a plea agreement:      at 12:00 p.m.
             •   Pretrial conference:                          Dec. 1, 2021
                                                               at 1:30 p.m.
             •   Jury selection and trial:                     Dec. 6, 2021
                                                               at 9:30 a.m.

                 A speedy trial is desirable, but “a myopic insistence upon expe-
             ditiousness in the face of a justifiable request for delay can render the
             right to defend with counsel an empty formality.” Ungar v. Sarafite,
             376 U.S. 575, 589 (1964). Considering the factors listed in 18 U.S.C.
             § 3161(h)(7), the ends of justice served by this continuance outweigh
             the interest of the public and the defendant in a speedy trial. In this
             case, defendant’s counsel requests additional time to “answer some
             questions and review some records. . .” Doc. 2530 at 2. Further,
             counsel reports “the ability to freely visit my client has been re-
             stricted and hampered by the current situation in our jails.” Id at 3.
             Additionally, the “Defendant still has State issues and substantial
             criminal history that need to be evaluated regarding a possible reso-
             lution of the important matter.” Id.
Case 6:20-cr-00097-JCB-JDL Document 260 Filed 09/08/21 Page 2 of 2 PageID #: 744




                 Failure to grant a continuance would create an appreciable likeli-
             hood of a miscarriage of justice by failing to give Mr. Retiz and his
             attorney enough time to prepare his case. This continuance is neces-
             sary to provide defendant’s counsel with reasonable time to prepare,
             considering due diligence. In addition, this case was designated com-
             plex and all Speedy Trial Act deadlines were suspended on January
             20, 2021. Therefore, the period of delay that will result from this
             continuance is excludable under the Speedy Trial Act. See 18 U.S.C.
             § 3161(h)(7).

                                      So ordered by the court on September 8, 2021.



                                                   J. C AMPBELL B ARKER
                                                  United States District Judge
